                              UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION

In the Matter of:                                         }
                                                          }
AVERY ALAN MITCHELL                                       }     Case No. 19-81521-CRJ-7
                                                          }
                                                          }
                                     Debtor(s)            }     Chapter 7
                                                          }

KIMBERLY MITCHELL                                         }
                                                          }
                                                          }
                                     Plaintiff(s)         }     AP Case No. 19-80077-CRJ
vs.                                                       }
                                                          }
AVERY ALAN MITCHELL                                       }
                                                          }
                                    Defendant(s)          }
                                                          }

                             ORDER SCHEDULING STATUS CONFERENCE

                A responsive pleading having been filed by the Defendant on September 26, 2019, the

        Court on its own motion, pursuant to 11 U.S.C. § 105(d)(1), hereby schedules a Status Conference

        to further the expeditious resolution of this Adversary Proceeding.

                IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that counsel for the

        parties must appear at the Status Conference on October 23, 2019 at 10:00 a.m. before the

        Honorable Clifton R. Jessup, Jr. at the Federal Building, 101 Holmes Avenue, Huntsville,

        Alabama. If there is a failure to attend the Status Conference, the Court may enter appropriate

        Sanctions.



        Dated this the 27th day of September, 2019.

                                                              /s/ Clifton R. Jessup, Jr.
                                                              Clifton R. Jessup, Jr.
                                                              United States Bankruptcy Judge


        Case 19-80077-CRJ        Doc 5     Filed 09/27/19 Entered 09/27/19 16:16:52            Desc Main
                                           Document      Page 1 of 1
